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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

               Plaintiff,
                                                             Hon. Phillip J. Green
 v.
                                                             Case No. 1:16-mj-0186
 GEMICHEAL MALANGY GARDNER,

            Defendant.
 _________________________________/


                                               ORDER

       This matter is before the Court on the government’s motion for pretrial detention. The

government sought defendant Gemicheal Malangy Gardner's detention on two bases: (1) that he poses

a serious risk of flight, 18 U.S.C. § 3142(f)(2)(A); (2) that he poses a danger to the community, 18

U.S.C. § 3142(f)(1). The Court conducted an evidentiary hearing today at which defendant was

represented by counsel.

       For the reasons stated on the record, the Court finds that the government failed to meet its burden

of proving that defendant is a serious flight risk, but that the government has proven by clear and

convincing evidence that he poses a danger to the community. The Court also finds, as explained on

the record, that there is no condition or combination of conditions that will ensure the safety of the

community.

       Accordingly, IT IS ORDERED that defendant is committed to the custody of the Attorney

General pending further order of this Court.


       DONE AND ORDERED this 26th day of July, 2016.

                                                       /s/ Phillip J. Green
                                                      PHILLIP J. GREEN
                                                      United States Magistrate Judge
